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                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY


JOON BANG, RAZVAN VICTOR                         No. 2:15-cv-6945 (MCA)(SCM)
BENGULESCU, GERALD BEZEMS,
SCOTT CROCKETT, RIFAT
GORENER, CHRISTOPHER LESIEUR,                    CLASS ACTION
LAWRENCE MARCUS, and MIKHAIL
SULEYMANOV, individually and on
behalf of others similarly situated,

                    Plaintiffs,

      vs.

BMW OF NORTH AMERICA, LLC,
BAVARIAN MOTOR WORKS, and
DOES 1 through 10, inclusive,

             Defendants.

   PLAINTIFFS’ UNOPPOSED MOTION FOR AN ORDER GRANTING
  PRELIMINARY APPROVAL OF THE CLASS ACTION SETTLEMENT
            AND CERTIFYING A SETTLEMENT CLASS

      For the reasons set forth in the Memorandum of Law submitted herewith,

Plaintiffs respectfully request that this Court enter an Order: (1) conditionally

certifying a class action with respect to the claims against Defendants pursuant to

Federal Rules of Civil Procedure Rules 23(a) and 23(b)(3) for the purpose of

effectuating a class action settlement of the claims against Defendants; (2)

preliminarily approving the settlement; (3) directing notice to Settlement Class

Members consistent with the notice plan in the Settlement Agreement; (4)




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appointing McCune Wright Arevalo, LLP and Wagstaff & Cartmell LLP as

Settlement Class Counsel; and (5) scheduling a final approval hearing.



Dated: May 4, 2018                          Respectfully submitted,

                                            McCune Wright Arevalo LLP

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                                         Proposed Settlement Class Counsel
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                          CERTIFICATE OF SERVICE

      I, Matthew D. Schelkopf, hereby certify that on May 4, 2018, the foregoing

motion and its accompanying materials were filed via the Court’s ECF filing

system, thereby electronically serving it on all counsel of record.



                                                     /s/ Matthew D. Schelkopf
                                                     Matthew D. Schelkopf
